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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                   WESTERN DIVISION


UNITED STATES OF AMERICA,                             Case No. 1:25-cr-00040(1)
                                                      Hopkins, J.
                Plaintiff,

           v.

ERNEST D. CHAVEZ,

                Defendant.

                                       ORDER

      This matter is before the Court on Defendant’s Motion to Continue Arraignment

Date (doc. 46) to which the United States is unopposed (doc. 47).

      The Defendant is tentatively scheduled to appear before the undersigned for Initial

Appearance and Arraignment on Indictment on May 20, 2025, having previously

appeared in the District of Arizona on April 23, 2025 where he was released on an own

recognizance bond.

      In the instant motion, Defendant seeks a continuance to his appearance in this

district for approximately one (1) month, due to a serious work injury sustained in

November 2024 which has resulted in an extended period of unemployment.             This

unemployment has created significant financial issues for the Defendant, making it

extremely difficult to afford travel to the Southern District of Ohio without sufficient

advance planning.

      Having reviewed this matter, the Court finds Defendant’s motion well taken.

Accordingly, the motion (doc. 46) is GRANTED. The Initial Appearance and Arraignment
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on Indictment in this matter is hereby tentatively CONTINUED to June 20, 2025 at 1:30

p.m. before Magistrate Judge Karen L. Litkovitz in Courtroom 708.

      SO ORDERED.

                                        s/Stephanie K. Bowman___________
                                        Stephanie K. Bowman
                                        United States Chief Magistrate Judge




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